              Case 1:11-cv-40188-GAO Document 6 Filed 10/12/11 Page 1 of 3



                                UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MASSACHUSETTS


LISA MURPHY,

                 Plaintiff,

         v.
                                                             Civil Action No. 4:11-cv-40188
BOSTON SCIENTIFIC CORPORATION and
CLAUDIA GILMAN,

                 Defendants.


  DECLARATION OF ROBERT M. HALE IN SUPPORT OF DEFENDANT BOSTON
 SCIENTIFIC CORPORATION’S MOTION TO DISMISS PLAINTIFF’S COMPLAINT

         I, Robert M. Hale, being of sound mind and full age do hereby declare as follows:

         1.      I am a partner in the law firm of Goodwin Procter LLP, counsel of record for

Defendant Boston Scientific Corporation (“BSC”) in the above-referenced matter (the “Action”).

I respectfully submit this declaration in support of BSC’s Motion to Dismiss Plaintiff’s

Complaint.

         2.      To the best of my knowledge, Defendant Claudia Gilman has not been served

with copies of the Summons and Complaint in this Action.

         3.      I represented BSC in its defense of a complaint filed against it by Plaintiff Lisa M.

Murphy with the Massachusetts Commission Against Discrimination (“MCAD”), signed August

22, 2008 (the “MCAD Complaint”). Attached hereto as Exhibit A is a true and correct copy of

the MCAD Complaint.

         4.      Attached hereto as Exhibit B is a true and correct copy of the MCAD Dismissal

and Notification of Rights and Investigative Disposition, dated September 7, 2010, which I

received in connection with the defense of the MCAD Complaint.


                                                   1
LIBB/1755538.1
              Case 1:11-cv-40188-GAO Document 6 Filed 10/12/11 Page 2 of 3



         5.      Attached hereto as Exhibit C is a true and correct copy of the EEOC Dismissal

and Notice of Rights, dated February 17, 2011, which I received in connection with the defense

of the MCAD Complaint.

         I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.



Dated: October 12, 2011                                              /s/ Robert M. Hale
                                                                     Robert M. Hale




                                                  2
LIBB/1755538.1
            Case 1:11-cv-40188-GAO Document 6 Filed 10/12/11 Page 3 of 3



                                  CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non-registered participants on October 12,
2011.


October 12, 2011                                             /s/ Robert M. Hale
                                                             Robert M. Hale




                                                 3
LIBB/1755538.1
